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 8                               UNITED STATES DISTRICT COURT
 9                              CENTRAL DISTRICT OF CALIFORNIA
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11   ALEXANDER FOROUZESH,                            CV 16-3830 PA (AGRx)
     individually and on behalf of all others
12   similarly situated,                             JUDGMENT
13                 Plaintiff,
14          v.
15   STARBUCKS CORPORATION
16                 Defendant.
17
18          Pursuant to the Court’s August 19, 2016 Minute Order granting the Motion to
19   Dismiss filed by defendant Starbucks Corporation (“Defendant”), which dismissed all of the
20   claims asserted by plaintiff Alexander Forouzesh (“Plaintiff”),
21          IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant shall
22   have judgment in its favor against Plaintiff.
23          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Plaintiff’s claims
24   are dismissed with prejudice.
25   //
26   //
27   //
28
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 1          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Plaintiff take
 2   nothing and that Defendant shall have its costs of suit.
 3          IT IS SO ORDERED.
 4
 5   DATED: August 19, 2016                              _________________________________
                                                                    Percy Anderson
 6                                                         UNITED STATES DISTRICT JUDGE
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